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                                                                                                    Faisal Gill <fgill@glawoffice.com>



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          1 message

          Murray, Andrew J. <AJMurray@co.pg.md.us>                                                         Wed, Jul 10, 2024 at 9:56 AM
          To: Faisal Gill <fgill@glawoffice.com>
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            Please see attached which were filed today



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